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 5
     Attorney for Plaintiff
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 7
 8
                                 UNITED STATES DISTRICT COURT
 9
                                       DISTRICT OF NEVADA
10
11                                       )              CASE NO. 2:21-cv-01512-GMN-NJK
     SHEILA SALEHIAN,
                                         )
12                                       )              STIPULATION AND ORDER CONTINUING
                                         )              THE DATE THAT PLAINTIFF MUST FILE
13                                       )              HIS RESPONSE TO DEFENDANT'S
                                         )              MOTION TO DISMISS
14              Plaintiff,               )              [LR 7-1; LR IA 6-2]
                                         )
15        vs.                            )              (First Request)
                                         )
16                                       )
     STATE OF NEVADA, NEVADA STATE       )
17   TREASURER’S OFFICE; ZACH CONINE, )
     STATE TREASURER; DOES 1-50; and ROE )
18                                       )
     CORPORATIONS 1-50,
                                         )
19                                       )
                                         )
20                                       )
                Defendants.              )
21                                       )
                                         )
22                                       )
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            IT IS HEREBY STIPULATED AND AGREED by and between the parties' respective
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     counsel of record pursuant to LR 7-1 and LR IA 6-2 that Plaintiff’s response to STATE OF
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     NEVADA, NEVADA STATE TREASURER’S OFFICE and ZACH CONINE, STATE
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     TREASURER’S (collectively “Defendants”) motion to dismiss filed on September 16, 2021, for
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 1   which the response is currently due on September 30, 2021, will be continued until October 15,
 2   2021.
 3           Said continuance is being stipulated to, to give Plaintiff an adequate opportunity to respond
 4   to said motion given other matters Plaintiff's counsel is involved in, including responding to a
 5   motion to dismiss in another case which is due on September 27, 2021 and responding to a motion
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     for summary judgment which is due on October 1, 2021. No previous continuances or extensions
 7
     have been requested or granted as to the filing of Plaintiff's response to Defendants’ motion to
 8
     dismiss.
 9
10
       LAW OFFICES OF MICHAEL P.                   AARON D. FORD
11
       BALABAN                                     ATTORNEY GENERAL
12
       /s/ Michael P. Balaban                       /s/ Judy A. Prutzman
13     Michael P. Balaban, Esq.                    Judy A. Prutzman, Esq.
       10726 Del Rudini St.                        Brandon R. Price, Esq.
14     Las Vegas, NV 89141                         5420 Kietzke Lane, Suite 202
15     Attorney for Plaintiff                      Las Vegas, NV 89511
                                                   Attorney for Defendants
16     Dated: September 22, 2021
17                                                 Dated: September 22, 2021

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                                                   IT IS SO ORDERED.
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22                                                 Dated this ____
                                                               22 day of September, 2021.

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                                                   ___________________________
25                                                 Gloria M. Navarro, District Judge
                                                   UNITED STATES DISTRICT COURT
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